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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                   )           CR. 10-50118-JLV
                                            )
           Plaintiff,                       )
                                            )           ORDER GRANTING
   vs.                                      )            CONTINUANCE
                                            )
LUIS OLIVARES,                              )
TRAVIS BRANDIS,                             )
PRECIOUS BARTLETT,                          )
ETHEL THUNDER HAWK, a/k/a                   )
SUGAR, a/k/a ETHEL                          )
THUNDERHAWK,                                )
DEB DILLON,                                 )
CLAUDETTE LONG SOLDIER,                     )
DEREK PETERS,                               )
ROBERT GAY,                                 )
GERALD LONG SOLDIER,                        )
CALEB BRACHA, a/k/a GHOST,                  )
and COURTNEY KROGMAN,                       )
                                            )
           Defendants.                      )

         Trial in the above-captioned case currently is scheduled to begin on July 26,

2011. (Docket 299). Defendant Caleb Bracha moves the court to continue all the

deadlines set in the case. (Docket 337). Defendants Courtney Krogman, Deb Dillon,

and Travis Brandis filed objections to the motion, indicating they do not consent to

waive their rights to speedy trials under the Sixth Amendment to the United States

Constitution and the Speedy Trial Act, 18 U.S.C. § 3161 et seq. (Docket 341, 346, &

350). The government does not oppose a continuance. (Docket 353).

         The court first notes “Sixth Amendment and Speedy Trial Act challenges for

delay are reviewed independently of one another.” United States v. Williams, 557 F.3d

943, 948 (8th Cir. 2009) (citation and internal quotation marks omitted). Accordingly,

the court shall address each challenge in turn.

         A defendant’s Sixth Amendment right to a speedy trial “ ‘attaches at the time

of arrest or indictment, whichever comes first, and continues until the trial

commences.’ ” United States v. Erenas-Luna, 560 F.3d 772, 776 (8th Cir. 2009)
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(quoting United States v. McGhee, 532 F.3d 733, 739 (8th Cir. 2008)). The Sixth

Amendment does not specify a time limit in which an accused must be brought to

trial. See U.S. Const. amend. VI.

       Because of the “vague” nature of this right, “any inquiry into a speedy trial

claim necessitates a functional analysis of the right in the particular context of the

case[.]” Barker v. Wingo, 407 U.S. 514, 522 (1972). To assist courts in evaluating

speedy trial claims, the Barker Court established a four-factor balancing test “in

which the conduct of both the prosecution and the defendant are weighed.” Id. at

530. These factors are the length of the delay, the reason for the delay, the

defendant’s assertion of his right to speedy trial, and the prejudice to the defendant.

Id. Because the “length of the delay is to some extent a triggering mechanism[,]”

courts need not inquire into the remaining factors “[u]ntil there is some delay which is

presumptively prejudicial[.]” Id.; see also United States v. Chahia, 544 F.3d 890, 898

(8th Cir. 2008) (“With respect to the first factor, an accused must allege that the

interval between accusation and trial has crossed the threshold dividing ordinary

from presumptively prejudicial delay. . . . [I]f the length of the delay is not

presumptively prejudicial, [courts] need not examine the other criteria.”) (citations

and internal quotation marks omitted). However, “because of the imprecision of the

right to speedy trial, the length of delay that will provoke such an inquiry is

necessarily dependent upon the peculiar circumstances of the case.” Barker, 407

U.S. at 530-31.

       The government filed an indictment against Mr. Brandis on December 21,

2010. (Docket 10). The government filed a superseding indictment against Mr.

Brandis, Ms. Dillon, Mr. Krogman, and their co-defendants on January 19, 2011.1



       1
         In this case, defendants’ Sixth Amendment rights attached at the time of the
filing of the charging documents as their arrests came later.

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(Docket 22). If the court grants Mr. Bracha’s continuance motion, trial will be set to

begin on September 20, 2011.

      The court finds the nine-month delay for Mr. Brandis and eight-month delay

for Ms. Dillon and Mr. Krogman are not presumptively prejudicial. See Chahia, 544

F.3d at 899 (a delay of six and one-half months is not presumptively prejudicial);

United States v. Lozano, 413 F.3d 879, 883 (8th Cir. 2005) (a delay of approximately

seven months is not presumptively prejudicial); United States v. Titlbach, 339 F.3d

692, 699 (8th Cir. 2003) (a delay of eight months was not presumptively prejudicial);

United States v. Perez-Perez, 337 F.3d 990, 995 (8th Cir. 2003) (a delay of five months

is not presumptively prejudicial); cf. Williams, 557 F.3d at 949 (a delay of sixteen

months was presumptively prejudicial); United States v. Jeanetta, 533 F.3d 651, 656

(8th Cir. 2008) (a delay of fifteen months was presumptively prejudicial); Doggett v.

United States, 505 U.S. 647, 652 n. 1 (1992) (a delay approaching one year may meet

the threshold for presumptively prejudicial delay).

      In support of this finding, the court notes the case is not a relatively simple one

involving only one or even a few defendants. Rather, this case involves sixteen co-

defendants accused of participating in a drug conspiracy. See Barker, 407 U.S. at

531 (“[T]he delay that can be tolerated for an ordinary street crime is considerably less

than for a serious, complex conspiracy charge.”). Mr. Bracha filed the motion to

continue because he made his initial appearance on June 3, 2011, and obtained

court-appointed counsel on June 9, 2011. (Dockets 294 & 337). Counsel for Mr.

Bracha represented he required additional time to review discovery and requested a

60-day continuance to do so. (Docket 337). From other filings in the record, the

court knows discovery in this case is voluminous. The court finds an additional two-

month delay in bringing defendants to trial is reasonable given the particular

circumstances of this case.


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       Finally, as discussed further below, severance is inappropriate, and eleven co-

defendants are scheduled to be tried together. Joinder in this case is reasonable and

necessary to ensure judicial economy. Therefore, a continuance for one defendant

results in a continuance for the remaining co-defendants. See United States v. Ruiz,

446 F.3d 762, 772 (8th Cir. 2006) (“In general, persons charged in a conspiracy or

jointly indicted on similar evidence from the same or related events should be tried

together.”) (citations and internal quotation marks omitted); Chahia, 544 F.3d at 898-

99 (finding the six and one-half month delay was not presumptively prejudicial when

the case involved nine co-defendants accused of participating in a drug conspiracy,

discovery remained to be produced, some co-defendants had not made their initial

appearances, and the charges against the defendants arose from the same facts and

circumstances, necessitating joinder of trial). Because the court finds the delay in

bringing Mr. Brandis, Ms. Dillon, Mr. Krogman, and their co-defendants to trial is not

presumptively prejudicial, the court need not inquire further. At this time, the court

finds no violation of the defendants’ Sixth Amendment rights to speedy trial.

       The Speedy Trial Act requires a defendant to be brought to trial within 70 days

of his indictment or arraignment, whichever is later. 18 U.S.C. § 3161(c)(1); Williams,

557 F.3d at 950. However, the Act describes periods of delay that “shall be excluded

in computing the time within which . . . the trial of any such offense must

commence[.]” 18 U.S.C. § 3161(h). One such period of excludable delay is “[a]ny

period of delay resulting from a continuance granted by any judge . . . if the judge

granted such continuance on the basis of his findings that the ends of justice served

by taking such action outweigh the best interest of the public and the defendant in a

speedy trial.” 18 U.S.C. § 3161(h)(7)(A). “ ‘[W]hen a newly indicted or arraigned

defendant is joined with a defendant whose speedy trial clock has already started

running, the latter defendant’s speedy trial clock will be reset so that it reflects the


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speedy trial clock of the newly added codefendant.’ ” United States v. Jenkins-Watts,

574 F.3d 950, 966 (8th Cir. 2009) (quoting United States v. Lightfoot, 483 F.3d 876,

885-86 (8th Cir. 2007)).

       Pursuant to § 3161(h)(7)(A), the court finds the ends of justice served by

continuing the trial outweigh the best interests of the public and the defendants in a

speedy trial. Mr. Bracha and his counsel require sufficient time to review discovery,

file pretrial motions, and prepare for trial. A 60-day continuance of the trial is

reasonable and necessary given the voluminous discovery and seriousness and

complexity of the case.

       In the interests of completeness, the court addresses one further matter not

raised specifically by the parties, but clearly relevant to this discussion. There is a

clear preference for a joint trial of persons charged in a conspiracy. Ruiz, 446 F.3d at

772; see also United States v. Kime, 99 F.3d 870, 880 (8th Cir. 1996) (“Persons

charged with a conspiracy will generally be tried together, especially where proof of

the charges against each of the defendants is based on the same evidence and acts.

Rarely, if ever, will it be improper for co-conspirators to be tried together.”) (citations

and internal quotation marks omitted). This clear preference for joinder, applicable

here, may be overcome if the party moving to sever “can show that the benefits [of

joinder] are outweighed by a clear likelihood of prejudice.” United States v. Clay, 579

F.3d 919, 927 (8th Cir. 2009) (citation and internal quotation marks omitted); see also

United States v. Pherigo, 327 F.3d 690, 693 (8th Cir. 2003) (In “ruling on a motion for

severance, a court must weigh the inconvenience and expense of separate trials

against the prejudice resulting from a joint trial of co-defendants. To grant a motion

for severance, the necessary prejudice must be severe or compelling.”) (citations and

internal quotation marks omitted).




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      The court finds the inconvenience and expense of separate trials clearly

outweigh any prejudice to defendants in joinder. As previously explained, joinder will

not violate the constitutional and statutory rights of Mr. Brandis, Ms. Dillon, and Mr.

Krogman to speedy trials. Further, Mr. Brandis and Ms. Dillon currently are on

pretrial release. (Docket 221, 256, & 371). This fact substantially lessens the

prejudice to them caused by a continuance of their trials. Finally, on April 6, 2011, in

an unrelated case, the court sentenced Mr. Krogman to eleven months imprisonment.

(CR. 08-50044, Docket 63). In light of this reality, the court cannot see how the

prejudice to Mr. Krogman is substantial enough to outweigh the clear preference for

joinder. The court finds no compelling justification under either the Sixth

Amendment or the Speedy Trial Act to warrant severance at this point.2

      In accord with the above discussion, the court overrules the objections to Mr.

Bracha’s motion to continue. Good cause appearing, it is hereby

      ORDERED that Mr. Bracha’s amended motion to continue (Docket 337) is

granted, and the following deadlines shall apply to all parties:

          Suppression/voluntariness          August 9, 2011
          motions
          Responses to motions due           Within seven days after motion is
                                             filed
          Subpoenas for suppression          August 9, 2011
          hearing
          Suppression/voluntariness          If necessary, shall be held before
          hearing before Magistrate Judge    August 23, 2011
          Veronica L. Duffy
          Applications for Writ of Habeas    August 30, 2011
          Corpus Ad Testificandum
          Other motions                      September 6, 2011


      2
        On July 11, 2011, Mr. Brandis filed a motion to sever that is unrelated to his
objections to Mr. Bracha’s motion to continue. (Docket 378). The court expresses no
opinion on the merits of Mr. Brandis’ motion to severe.

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       Responses to motions due             Within seven days after motion is
                                            filed
       Subpoenas for trial                  September 6, 2011
       Plea agreement or petition to        September 6, 2011
       plead and statement of factual
       basis
       Notify court of status of case       September 6, 2011

       Motions in limine                    September 13, 2011

       Proposed jury instructions due       September 13, 2011
       Pretrial conference                  Monday, September 19, 2011, at
                                            8:30 a.m.
       Jury trial                           Tuesday, September 20, 2011, at
                                            9 a.m.

      The period of delay resulting from this continuance is excluded in computing
the time within which the trial of the case must commence.
18 U.S.C. § 3161(h)(7)(A).
      Defense counsel must file with the clerk within fourteen (14) days of this order
a written consent to the continuance and waiver of the Speedy Trial Act signed by
each non-objecting defendant.
      All other provisions of the court's scheduling and case management order
(Docket 219) remain in effect unless specifically changed herein.
      Dated July 15, 2011.

                                  BY THE COURT:

                                  /s/ Jeffrey L. Viken
                                  JEFFREY L. VIKEN
                                  UNITED STATES DISTRICT JUDGE




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